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                                      Complaint Synopsis

Name:                                     Nathan Libby

Address:                                  Rockland, Maine
(City & State Only):
Year of Birth and Age:                    1989; 31 years old

Violations:                               Count One: Communicating a False Distress Call, in
                                          violation of 14 USC §521(c)


Penalties:                                Count One: Imprisonment of not more than 5 years, and
                                          a fine not to exceed two hundred fifty thousand dollars
                                          ($250,000), or both. 14 USC § 521(c)

                                          This offense is a Class D felony pursuant to 18
                                          U.S.C.§3559(a)(3)



Supervised Release:                       Not more than 3 years, 18 USC §3583(b)(2)

Maximum Term of Imprisonment for          Not more than 2 years, 18 USC §3583(e)
Violation of Supervised Release:

Maximum Add’l Term of Supervised          3 Years less any term of imprisonment imposed upon
Release for Violation of Supervised       revocation of supervised release. 18 U.S.C. § 3583.
Release:
Defendant’s Attorney:

Primary Investigative Agency and Case     M.Root - USCGCIG
Agent Name:

Detention Status:                         Warrant requested

Foreign National:                         No

Foreign Consular Notification Provided: N/A

County:                                   Know

AUSA:                                     Daniel J. Perry
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Guidelines apply? Y/N                 Yes

Victim Case:                          Yes

Corporate Victims Owed Restitution:   No

Assessments:                          $100 per count
